Case: 07-55873, 02/13/2009, ID: 6809611, DktEntry: 41-1, Page 1 of 13
                                                                       RMOELtLYcc (E  lV E D
                                                                                   IWYERCLERK
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                                                                           s.cot ln'foFAôpEAts
                          CaseNO.07-55873                                  FEB13201
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                                                                               -.----
            UNITED STATESCOURT OFAPPEALS DOCilF.TC-D--.-----($7-,=rE.-..----...-IN.-.l.-F..lA.-t..
                   FOR THE NINTH CIRCUIT


                TIIEODOREMAROPG OS;etal.,
                      Plaintiffs/Appellees,


               UOUNTYOFLOSANGELES;etal.,
                            Defendants
                               and
                    STEVELANKFORD,Deputy
                       Defendant/Appellant.

            AppealFrom theUnitedStatesDistrictCourt
               FortheCentralDistrictofCalifornia
                  HonorableTerryJ.Hatter,Jr.
            LowerCourtDocketNo.CV 04-01171TJH

            APPELLEES'SUPPLEMENTALBRIEF

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      Case: 07-55873, 02/13/2009, ID: 6809611, DktEntry: 41-1, Page 2 of 13




                                       1.
                              INTRODUCTION
     ltistheappellees'contentionthattheCourtofAppealslacksjurisdiotionto
heartheissuesraisedintheinstantinterlocutoryappeal.Asmorefullyexplained
below,theCourtofAppealsshouldnotbeputinthepositionofreviewingthe
suftkiencyoftheevidenceonaninterlocutoryappealofthedistrictcourt'sdenial
ofdefendant'smotionforsummaryjudgment.Theappellantisspecifcally
contendinginsuftkiencyoftheevidenceintheappellant'sopeningbrief. Thisis
improperinaninterlocutoryappeal.Further,giventhattherearedisputedissuesof
factandgenuineissues,theCourtofAppealsshouldnotconsidertheclaimsraised
intheinstantinterlocutoryappealanddismisstheappealforlackofjurisdiction.

                                       ll.
          THE COURT OFAPPEALSLACKSJURISDICTION
           TO HEAR THEISSUESRM SED IN THEINSTANT
                       INTERLOCUTORY APPEAL
      lnJohnsonv.Jones515U.S.304,313-20(1995)JusticeBreyerheldthat
thedistrictcourt'sdeterminationthatsummaryjudgmentrecordinqualifed
immunitycaseraisedgenuineissueoffad concerningoft
                                                kers'involvementin
      Case: 07-55873, 02/13/2009, ID: 6809611, DktEntry: 41-1, Page 3 of 13



allegedbeatingwasnotdçfinaldecision''withinthemeaningofappellate
jurisdictionstatuteand,therefore,wasnotimmediatelyappealable.Thegeneral
ruleisthatinterlocutoryappealsinqualifiedimmunitycasesareonlyforabstract
legalissues.Thepossibilitythatpartiesclaim immunitytoobtaininterlocutory
appealorthatreviewingcourtscouldhavedifficultyseparatingappealableissue
ofwhethergivensetoffactviolatedclearlyestablishedprinciplesof1aw from
um-
  eviewabledeterminationofwhetherfactsweredçgenuine''oi
                                                      -indispute,does
notmakethisgeneralruleunmanageable.TheSupremeCourtinJohnsonv.
Jones.supra,specificallyheldthatadefendantwhoisentitledtoinvokea
qualifedimmunitydefensemaynotappealadistrictcourt'ssummaryjudgment
orderinsofarasthatorderdetermineswhetherornotthepretrialrecordsetsfortha
çdgenuine''issueoffad fortrial.ApplyingtheholdingofJohnsonv.Jonestothe
contentionsraisedintheinstantinterlocutoryappeal,theCourtofAppealsshould
dismissthisinterlocutoryappealforlackofjurisdiction.TheappellantSteve
LankfordinhisinterlocutoryappealisrequestingtheCourtofAppealsto
reconsiderthesufficiencyoftheevidencepresentedinthedistrictcourtand
whetherthereweretriableissuesoffactastowhetherDeputyLankfordsettsreto
thehouse.lndenyingDeputyLankford'smotionforsummaryjudgment,the
districtcourtclearlyfoundthatthereweretriableissuesoffactort<genuine''issues

                                        3
      Case: 07-55873, 02/13/2009, ID: 6809611, DktEntry: 41-1, Page 4 of 13



astowhetherDeputyLankfordsetfretotheplaintiffs'homeandwhetherDeputy
Lankfordinterferedwithrescueeffortsafterfirepersonnelarrivedatthescene.
Thedistrictcourtimplicitlyfoundthattherewassuffcientevidencepresentedand
thatthesegenuineissuesshouldbedecidedbyajuryoraneutralfactfinder.
      TheCourtinJohnsonv.Jonesexplainedthatthreebackgroundprincipals
guidedtheCourtinitsdecision. First,28U.S.C.section1291grantsappellate
courtsjurisdictiontohearappealsonlyfromdistrictcourt'sidfinaldecisions''.
Second,underCohenv.BenqflcialIndustrialLoanCo/r.337U.S.541(1949)and
subsequentdecisions,addcollateralorder''amountstoanimmediatelyappealable
id
 finaldecision''undersection1291,eventhoughthedistrictcoul'
                                                          tmayhave
entereditlongbeforethecasehasended,iftheorder(1)conclusivel
                                                          ydetermines
thedisputedquestion,(2)resolvesanimportantissuecompletelyseparatefrom the
 meritsoftheaction,and(3)willbeeffectivelyunreviewableonappealfromthe
fnaljudgment.Third,theSupremeCourtheldinMitchellv.Feryvth,472,U.S.
511,518(1985)thatadistrictcourt'sorderdenyingadefendant'ssummary
judgmentmotionwasanimmediatelyappealable(tcollateralorder''underCohen,
supra,where(1)thedefendantwasapublicoftscialassertingaqualifedimmunity
defenseand(2)theissueappealconcerned,notwhichfactsthepartiesmightbe
abletoprove,butratherwhetherornotcertaingivenfactsshow aviolationof
      Case: 07-55873, 02/13/2009, ID: 6809611, DktEntry: 41-1, Page 5 of 13



(dclearlyestablished''law.
      TheSupremeCourtinJohnsonv.Joneswentontoexplainthattheorderof
thedistrictcourtwasnotappealableinaninterlocutoryappealforthreereasons.
First,theCourtofAppealcannotconsideroninterlocutoryappealthedistrict
court'sdenialofaclaim ofqualifedimmunitywheretherearedisputedissuesof
materialfactorgenuineissues.Rather,theCourtofAppealoninterlocutory
appealcanonlyconsiderthepurelylegalissueofwhatlaw wasticlearly
established''.Second,theCourtofAppealdoesnothavejurisdictiononan
interlocutoryappealtoconsiderthesuftkiencyoftheevidence. Third,the
SupremeCourtstatediç(T)hecompetingconsiderationsunderlyingquestionsof
fnality-theinconvenienceandcostsofpiecemealreview,thedangerofdenying
iusticebydelay,thecomparativeexpertiseoftrialandappellatecourts,andthe
J
wiseuseofappellateresources-argueagainstextendingMitchelltoencompass
ordersofthekindatissueandinfavoroflimitinginterlocutoryappealsof
d&qualitiedimmunity''matterstocasespresentingmoreabstraçtissuesoflaw''.
TheSupremeCourtspecificallyheldinJohnsonv.Jonesthatareviewingcourt
cannotconsideroninterlocutoryappealthequestionof(ç
                                                 evidencesuffciency''or
toreview anunderlyingfactualmatter.
     lnBehrensv.Pelletier516U.S.299,312-13(1996),amanagingofficerof
      Case: 07-55873, 02/13/2009, ID: 6809611, DktEntry: 41-1, Page 6 of 13



abankfiledaBivensactionagainstasupervisoryagentoftheFederalHomeLoan
BankBoard.Theagentfiledamotiontodismisswhichwasdeniedbythedistrict
court.Theagentfledanimmediateappealofthedistrictcourt'sdenialofthe
qualifiedimmunityrulingonthemotiontodismiss.TheCourtofAppealsforthe
NinthCircuitfoundtheofficeradequatelystatedaBivensclaim.Theagent
subsequentlyfiledamotionforsummaryjudgmentonqualifedimmunity
grounds.Thedistrictcourtdeniedtheagent'smotionforsummaryjudgment.The
agentagainfiledaninterlocutoryappealofthedistrictcourt'sdenialofthe
qualifiedimmunityclaim.TheCourtofAppealsdismissedtheappealforlackof
jurisdiction.Certiorariwasgranted.TheSupremeCourqJusticeScalia,reversed
holdingthatdenialofsummavjudgmentongroundsofqualifiedimmunitywas
anappealablefinaljudgmentandthattheexistenceofmaterialfactissues
remainingfortrialdidnotnecessarilyprecludeappeal.JusticeBreyerfileda
dissentingopinioninwhichJusticeStevensjoined.
     TheCourtinBehrensexplainsthatthedistrictcourt'sdenialofaclaim of
qualifiedimmunity,totheextentthatitturnsonanissueoflaw,isanappealable
ifinaldecision''withinthemeaningofthestatute28U.S.C.section 1291.The
Courtnotedthattheissueonqualifedimmunityiswhetherareasonableperson
wouldhaveknownthattheirconductwouldhaveviolatedclearlyestablishedlaw.

                                        6
      Case: 07-55873, 02/13/2009, ID: 6809611, DktEntry: 41-1, Page 7 of 13




TheCourtinBvhrensclarifiedthattheexistenceofmaterialfactissuesremaining
fortrialdidnotbaradefendant'sappealfromdenialofsummaryjudgmentmotion
basedonqualifiedimmunitywhichrulesonissueoflaw.Distinguishingthe
Behrenscasefrom theinstantappeal,theappellantisrequestingtheCourtof
Appealsnottojustdecideanissueoflaw,buttoruleonthesufficiencyof
evidencebeforethedistrictcourt.Thisisnotappropriateoninterlocutoryappeals.
Further,itcannotbereasonabledisputedthatDeputyLankforddidnotknow that
settingsomeone'shouseontireandtheninterferingwithrescueeffortwasagainst
thelaw.Therefore,thisCourtshoulddismisstheinstantinterlocutoryappealfor
lackofjurisdiction.
     TheCourtinBehrenscontirmsthatitsintepretationoftheholdingin
Johnsonv.Jonesisthatthedeterminationofevidentiarysufficiencyatsummary
judgmentisnotimmediatelyappealablemerelybecausetheyhappentoariseina
qualifiedimmunitycase.TheCourtinBehrensnotedthatifwhatisatissueinthe
sufficiencydeterminationisnothingmorethanwhethertheevidencecould
supportafindingthatparticularconductoccurred,thequestiondecidedisnottruly
tçseparable''from theplaintiffclaim,andhencethereisnoEçfinaldecision''under
CohenandMitchell.Therefore,underbothJohnsonandBehrens,theinstant
interlocutoryappealshouldbedismissedforlackofjurisdictiontoreviewthe
      Case: 07-55873, 02/13/2009, ID: 6809611, DktEntry: 41-1, Page 8 of 13



sufficienc,
          yoftheevidenceinsupportoftheSdgenuineissues'',whichisexadly
whattheappellantisaskingtheCoul
                              'tofAppealstodointhisinterlocutory
appeal.
                                       111.
                 THE CASE OFPEARSON v.CALLAHAN
     SHDULD NOTHAVEAN EFFECTON THEIXSTANTAPPEAL
     TherecentcaseofPearsonv.Callahan,No.07-751,551U.S.                       ,2009
WL128768(January21,2009)shouldnothaveaneffectontheinstantappeal.
TheCourtinPearsonv.Callahansupra,merelygavetheCourtofAppealssome
discretionandflexibilityindecidingthequalifiedimmunityissue. TheCoul'tof
Appealsdoesnotnecessarilyhavetofollow thetwostepsapproachoutlinedin
Saucierv.Katz,533U.S.194,121(2001).Rather,theCourtofAppealsmayinits
discretiondetermineifthelaw wasclearlyestablishedbeforedeterminingwhether

aconstitutionalviolationhastakenplace.lntheappellant'sbrief,theappellant

doesnotcontendthatsettingone'shouseonfrewasnotclearlyestablishedlaw.

Obviously,anyreasonableperson,especiallyalaw enforcementofticer,would

l
tnow thatintentionallysettingone'shouseontireisagainstthelaw.Therefore,
                                        8
     Case: 07-55873, 02/13/2009, ID: 6809611, DktEntry: 41-1, Page 9 of 13




thecaseofPearsonv.Callahan,supra,shouldnothaveanyeffed ontheissues

raisedontheinstantappealandtheCourtofAppealsshouldstilldismissordeny

theinstantinterlocutoryappeal.

                                      IV.
                           ARGUMENT
     lntheargumentsedionoftheappellant'sopeningbrief,theappellant
contendsthatthedçplaintiffsdidnotpresentanyevidencetocreateatriableissue
astowhetherDeputyLankfordsettiretotheirdthouse''.Clearly,thedistrictcourt

foundthattheplaintiffsdidpresentsuftieientevideneetocTeateatriableissueas

towhetherDeputyLankfordsetfiretothehouseanddeniedthedefendant's

summaryjudgmentmotiononthatbasis.Asdiscussedabove,theCourtofAppeals
shouldnotbeaddressingtheissueofsuffciencyoftheevidenceonan

interloeutoryappèalofadistrid court'sdenialofaqualifiedimmunityclaim on

summaryjudgment.Theappellantgoesontoargueinhisopeningbriefthatthere
issufficientevidenceofproximatecausationandconscienceshockingcondud.
     Case: 07-55873, 02/13/2009, ID: 6809611, DktEntry: 41-1, Page 10 of 13




Again,theappellantisimproperlyaskingtheCourtofAppealstoconsiderthe

sufsciencyoftheevidenceoninterlocutoryappeal. Certainly,itshouldnotbe

surprisingtothedefendantthatthedistrictcoul'
                                           tfoundthatDeputyLankfùrd's

settingfiretotheplaintiffshousetobeagainstthelaw. Theappellantlastly

arguesinhisopeningbriefthatDeputyLankford'sallegedconductdidnotviolate

clearlyestablishedFourteenthAmendment1aw regardingtheprovidingof

protectiveservices.Theappelleesdisagreewiththiscontentiononinterlocutory

appealfortworeasons.First,thelaw wasclearlyestablished.Second,thereare

disputedissuesoffactastowhetherDeputyLankfordintentionallyinterferedwith

therescueeffortsoftheemergencypersonnelonthesceneafterheintentionally

setfiretotheplaintiffshome.
     Case: 07-55873, 02/13/2009, ID: 6809611, DktEntry: 41-1, Page 11 of 13




                                       V.
                               CONCLUSION
     Foral1theforegoingreasons,itisrespectfullyrequestedthattheCourtof
Appealsdismisstheinstantinterlocutoryappealforlackofjurisdictionand
remandthematterbacktothedistrictcourtforfurtherproceedings.



Dated:February12,2009                       Res fullysubmitted,


                                             ALEK GALIPO
                                             ttorn forAppelees




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     Case: 07-55873, 02/13/2009, ID: 6809611, DktEntry: 41-1, Page 12 of 13




                       PROOFOFSERVICE
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     Case: 07-55873, 02/13/2009, ID: 6809611, DktEntry: 41-1, Page 13 of 13




                               MAILING LIST

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